   Case 3:21-cv-01585-S Document 31 Filed 10/25/22            Page 1 of 8 PageID 7911




                                      No. 3:21-cv-01585-S


                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

In the Matter of: Highland Capital Management, L.P.,

                            Debtor.

                 THE CHARITABLE DAF FUND L.P. and CLO HOLDCO LTD.,
                                  APPELLANTS
                                              v.

                            HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                       APPELLEE.


        ON APPEAL FROM THE UNITED STATES BANKRUPTCY COURT FOR THE
                        NORTHERN DISTRICT OF TEXAS
                     BANKRUPTCY CASE NO. 19-34054 (SGJ)


                   APPELLEE’S OPPOSITION TO APPELLANTS’ MOTION
                    FOR EXTENSION OF TIME TO FILE OPENING BRIEF


PACHULSKI STANG ZIEHL & JONES                  HAYWARD PLLC
LLP                                            Melissa S. Hayward
Jeffrey N. Pomerantz                           Zachery Z. Annable
John A. Morris                                 10501 N. Central Expy, Suite 106
Gregory V. Demo                                Dallas, TX 75231
Hayley R. Winograd                             (972) 755-7100
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067
(310) 277-6910                                 Counsel for Appellee




DOCS_NY:46631.5 36027/003
    Case 3:21-cv-01585-S Document 31 Filed 10/25/22                Page 2 of 8 PageID 7912



       Appellee Highland Capital Management, L.P., submits this opposition to the

motion for an extension of time to file opening brief filed by Appellants, The

Charitable DAF Fund, L.P. and CLO Holdco, Ltd. (ECF No. 29).

                             PRELIMINARY STATEMENT

       A year ago, Appellants asked this Court both to stay this appeal pending the

Fifth Circuit’s confirmation appeal and to extend their time to file their opening

brief. ECF Nos. 10, 13. The Court granted both requests. ECF Nos. 19, 21. It

abated and ordered Appellants to file their opening brief within fourteen days of the

Fifth Circuit’s disposition of the appeal of Appellee’s confirmation order. ECF No.

19.

       There is no dispute that (a) the Fifth Circuit issued its final decision on

September 9, 2022; (b) Appellants’ deadline for filing its opening brief was therefore

September 23, 2022; and (c) Appellants missed the deadline. 1 In their motion filed

on October 18, 2022, Appellants ask the Court to fix their error by extending the

already-missed deadline to some undetermined date on the ground that their failure

to comply with it was purportedly the result of “excusable neglect.” The Court

should deny the motion as moot or, alternatively, on the merits.

1
 In fact, the Fifth Circuit issued its initial decision on August 19, 2022 (Motion ¶ 7) such that the
14-day period in which Appellants were required to file their opening brief arguably expired on
September 2, 2022. Although certain appellants petitioned for rehearing that day (5th Cir. Case
No. 21-10449, Document No. 00516458961), Appellants admit that they were unaware of the
applicable deadline here. Therefore, they could not have relied on the petition for rehearing as a
basis for believing the deadline had been extended.


                                                 1                             DOCS_NY:46631.5 36027/003
  Case 3:21-cv-01585-S Document 31 Filed 10/25/22        Page 3 of 8 PageID 7913



      Appellee respectfully submits that the Court should first decide the fully

briefed and pending motion for summary affirmance. ECF No. 23. If it grants

Highland’s summary affirmance, then the Court should deny Appellants’ extension

motion as moot. If the Court denies summary affirmance, however, then it should

nevertheless deny Appellants’ extension motion based on Appellants’ inexcusable

failure to meet their briefing deadline and dismiss the appeal.

     THE COURT SHOULD GRANT THE MOTION FOR SUMMARY
    AFFIRMANCE AND DENY THE MOTION TO EXTEND AS MOOT

      Appellants’ motion fails to mention the fully briefed motion for summary

affirmance that is pending before the Court. See ECF Nos. 23, 24, and 26. That

motion—which explains why there is no substantial question as to the outcome of

this appeal—should be decided before Appellants are allowed to waste further

judicial and party resources by proceeding with unnecessary merits briefing.

      Notably, the Fifth Circuit in its Confirmation Opinion rejected every argument

Appellants seek to raise on the merits in this Court. NexPoint Advisors, L.P. v.

Highland Capital Management, L.P. (In re Highland Capital Management, L.P.),

No. 21-10449, 2022 WL 4093167 (5th Cir. Sept. 7, 2022). And Judge Starr has

confirmed that the Fifth Circuit’s decision precludes the very same collateral attacks

on a final bankruptcy court order that Appellants are pursuing in this appeal. Mem.

Order and Opinion, The Charitable DAF Fund LP v. Highland Capital Management

LP, No. 3:21-cv-01974-X, ECF No. 49 (Sept. 28, 2022).

                                          2                        DOCS_NY:46631.5 36027/003
  Case 3:21-cv-01585-S Document 31 Filed 10/25/22        Page 4 of 8 PageID 7914



      Thus, nothing warrants full-merits briefing.        This Court should grant

Highland’s motion for summary affirmance and deny as moot Appellants’ motion

for an extension of time to file their opening brief.

  ALTERNATIVELY, THE COURT SHOULD DENY THE MOTION TO
                 EXTEND ON THE MERITS

      If the Court concludes that summary affirmance is not warranted, then

Appellants’ extension motion should be denied because Appellants cannot meet the

standard of “excusable neglect” under the circumstances. Courts in this Circuit are

not sympathetic to parties who miss deadlines:

      [I]n most cases, an attorney’s simple misunderstanding of the Federal
      Rules ‘weighs heavily against a finding of excusable neglect.’ . . . Our
      court has ‘left open the possibility that some misinterpretations of the
      federal rules may qualify as excusable neglect,’ but we have
      emphasized that ‘such is the rare case indeed.’ We have therefore held
      that a district court abused its discretion by granting an extension of
      time based on an attorney’s misreading of a time limit set by the Federal
      Rules even when the district court had found that the intricacies of the
      Rule at issue were a ‘trap for the unwary.’

L.A. Pub. Ins. Adjusters, Inc. v. Nelson, 17 F. 4th 521, 525-26 (5th Cir. 2021)

(internal quotations and citations omitted) (emphasis added).

      This is not one of those rare cases. Here, there was nothing to misunderstand

or misinterpret, and there was no “trap for the unwary.” Id. Instead, Appellants




                                           3                      DOCS_NY:46631.5 36027/003
    Case 3:21-cv-01585-S Document 31 Filed 10/25/22              Page 5 of 8 PageID 7915



simply “overlooked” a court-ordered deadline that was set at their own request. That

may be neglect, but it is not excusable neglect. 2

       Moreover, Appellants cannot satisfy the elements of the very legal standard

they rely on. See Motion ¶ 16 (quoting Salts v. Epps, 676 F.3d 468, 474 (5th Cir.

2012)):

       • Appellants contend that Appellee will suffer no prejudice if their
         motion is granted (Motion ¶18), but that is spurious: if the motion is
         granted, Appellee will be substantially prejudiced by the prospect of
         being forced to waste resources to brief an appeal that is based on
         arguments that both another district court judge and the court of
         appeals have concluded are meritless;

       • Appellants suggest that they seek “only” a 7-day extension of time
         (Motion ¶19) but that is sophistry: more than four weeks after the
         deadline passed, Appellants have yet to present their opening brief,
         meaning that the extension effectively grows with each passing day;
         and

       • Appellants contend that “overlooking a springing deadline” is a
         reasonable cause for delay (Motion ¶20), but they cite no precedent
         where any court has ever accepted such an excuse. That is not
         surprising: if merely “overlooking” court-ordered deadlines were an
         acceptable excuse, then there would be no purpose for courts to set
         them.


       The Fifth Circuit instructs that when reviewing the “reason for the delay,”

courts should also inquire as to “whether [the reason] was within the reasonable

control of the movant.” L.A. Pub. Ins. Adjusters, 17 F. 4th at 525. Here, the


2
  Appellants offer no evidence in the form of an affidavit or declaration to support their motion.
Instead, they merely make conclusory assertions in a pleading.


                                                4                           DOCS_NY:46631.5 36027/003
  Case 3:21-cv-01585-S Document 31 Filed 10/25/22         Page 6 of 8 PageID 7916



purported reason for the delay was solely and reasonably within Appellants’ control:

Appellants simply “overlooked” the deadline set forth in the order resolving

Appellants’ own motion.

      In the end, there is no factual or evidentiary basis to grant Appellants’ request

for an extension. Under the relevant factors, it should be denied either as moot—

based on the pending motion for summary affirmance—or for the failure to

demonstrate excusable neglect.

                                  CONCLUSION

      For the foregoing reasons, Appellee respectfully requests that the Court deny

Appellants’ motion for an extension of time to file their opening brief.




                                          5                        DOCS_NY:46631.5 36027/003
 Case 3:21-cv-01585-S Document 31 Filed 10/25/22   Page 7 of 8 PageID 7917



Dated: October 25, 2022             PACHULSKI STANG ZIEHL &
                                    JONES LLP

                                    Jeffrey N. Pomerantz (CA Bar No.143717)
                                    John A. Morris (NY Bar No. 2405397)
                                    Gregory V. Demo (NY Bar No. 5371992)
                                    Hayley R. Winograd (NY Bar No. 5612569)
                                    10100 Santa Monica Blvd., 13th Floor
                                    Los Angeles, CA 90067
                                    Tel: (310) 277-6910
                                    Fax: (310) 201-0760

                                    -and-

                                    HAYWARD PLLC

                                    /s/ Zachery Z. Annable
                                    Melissa S. Hayward (TX Bar No. 24044908)
                                    MHayward@HaywardFirm.com
                                    Zachery Z. Annable (TX Bar No. 24053075)
                                    ZAnnable@HaywardFirm.com
                                    10501 N. Central Expy, Suite 106
                                    Dallas, TX 75231
                                    Tel: (972) 755-7100
                                    Fax: (972) 755-7110

                                    Counsel for Appellee




                                    6                      DOCS_NY:46631.5 36027/003
   Case 3:21-cv-01585-S Document 31 Filed 10/25/22     Page 8 of 8 PageID 7918



                            CERTIFICATE OF COMPLIANCE

1.    This document complies with the word limit of Fed. R. Bankr. P.
8013(f)(3)(C) because, excluding the portions excluded by Fed. R. Bankr. P.
8015(g), this document contains 1,128 words.

2.     This document complies with the typeface requirements of Fed. R. Bankr. P.
8015(a)(5) and the type-style requirements of Fed. R. Bankr. P. 8015(a)(6) because
this document has been prepared in a proportionally spaced typeface using Microsoft
Word, typeface Times New Roman, 14-point type (12-point for footnotes).


                                            /s/ Zachery Z. Annable
                                            Attorney for Appellee
                                            Dated: October 25, 2022



                             CERTIFICATE OF SERVICE

       I hereby certify that on October 25, 2022, the foregoing document was
electronically filed using the Court’s CM/ECF system. I further certify that all
participants in this case are registered CM/ECF users and that service will be
accomplished via CM/ECF.



                                            /s/ Zachery Z. Annable
                                            Attorney for Appellee




DOCS_NY:46631.5 36027/003
